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          Equity Security Holders
  7
                                   UNITED STATES BANKRUPTCY COURT
 8                                  CENTRAL DISTRICT OF CALIFORNIA
                                     SAN FERNANDO VALLEY DIVISION
 9
          In re:                                        Case No. 1:17-bk-12408-MB
10                                                      Jointly administered with:
      ICPW Liquidation Corporation, a                   Case No. 1:17-bk-12409-MB
11    California corporation,
12                  Debtor and Debtor in Possession.    Chapter 11

13    In re:                                            APPLICATION OF THE OFFICIAL
                                                        COMMITTEE OF EQUITY SECURITY
14    ICPW Liquidation Corporation, a Nevada            HOLDERS TO EMPLOY SOLOMON &
      corporation ,2                                    CRAMER LLP AS SPECIAL
15                                                      LITIGATION COUNSEL TO THE
                    Debtor and Debtor in Possession.    OFFICIAL COMMITTEE OF EQUITY
16                                                      SECURITY HOLDERS NUNC PRO
                                                        TUNC AS OF NOVEMBER 29, 2017;
17                                                      DECLARATION OF ANDREW T.
            Affects:                                    SOLOMON IN SUPPORT THEREOF
18
              Both Debtors
19                                                      [No Hearing Required Unless Requested
      E ICPW Liquidation Corporation, a                 Pursuant to Local Bankruptcy Rule 2014-1]
20    California corporation
21    Z ICPW Liquidation Corporation, a
      Nevada corporation.
22

23
                   The Official Committee of Equity Security Holders ("Equity Committee") respectfully
24
      submits this application (the "Application") for the entry of an order authorizing the employment
25
      of Solomon & Cramer LLP ("Solomon & Cramer") as special litigation counsel to the Equity
26
27
28    I   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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     Committee nunc pro tunc as of November 29, 2017, pursuant to 11 U.S.C. §§3 1103(a) and
     328(a), Rule 2014(a) of the Federal Rules of Bankruptcy Procedures (the "Bankruptcy Rules"),

     and Local Bankruptcy Rule 2014-1(b), and with hourly compensation pursuant to

     11 U.S.C. §§ 330 and 331 and contingency-fee compensation pursuant to 11 U.S.C. § 328(a), and

     respectfully represents as follows:

                                                     I.

                                           RELIEF REQUESTED

            1.      Pursuant to this Application, the Equity Committee seeks authority to employ

     Solomon & Cramer as its special litigation counsel to handle certain litigation, including claims

     against former officers (the "Former Officers") and various third parties (the "Third Parties"),

     arising from certain prepetition acts as more fully explained below.

            2.      The Equity Committee selected Solomon & Cramer because it offers a full range

     of commercial litigation services and has extensive experience in the following areas: legal and

     accounting malpractice; white collar criminal matters; and claims against directors and officers.

     Solomon & Cramer has litigated in courts and arbitration proceedings throughout the Country and

     has broad experience appearing before the SEC. Thus, the Equity Committee believes Solomon &

     Cramer is well-qualified to represent the Equity Committee.

                                                     II.

                                             JURISDICTION

            3.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

     1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding

     under 28 U.S.C. §§ 157(b)(2).




     3All references to "section or "§" herein are to sections of the United States Bankruptcy Code,
     11 U.S.C. §§ 101-1532, as amended (the "Bankruptcy Code").


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                                                 FACTS

     A.     General Background.

            4.      On September 8, 2017 (the "Petition Date"), ICPW Liquidation Corporation, a

     California corporation ("ICPW California"), filed a voluntary petition under chapter 11 of the

     Bankruptcy Code, commencing Case No. 1:17-bk-12048-MB (the "California Case") in the

     United States Bankruptcy Court for the Central District of California (the "Bankruptcy Court").

            5.      On September 8, 2017, ICPW Liquidation Corporation, a Nevada corporation

     ("ICPW Nevada"), filed a voluntary petition in the Bankruptcy Court under chapter 11 of the

     Bankruptcy Code, commencing Case No. 1:17-bk-12049-MB (the "Nevada Case," and together

     with the California Case, the "Cases").

            6.      The Debtors continue to operate their businesses and manage their affairs as

     debtors in possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code. Other than owning

     all of the shares in ICPW California, ICPW Nevada has no business. All operations of the

     Debtors effectively function through ICPW California. ICPW Nevada is publicly-traded with its

     common stock quoted on the OTC Markets under the symbol "ICPW." As of May 4, 2017,

     ICPW Nevada had 85,646,354 shares of common stock, par value $0.001 per share, issued and

     outstanding.

            7.      On September 11, 2017, the Debtors filed their Ex Parte Motion For Entry Of An

     Order For Joint Administration Of Cases. Docket No. 5.

            8.      On September 12, 2017, the Court entered an Order Approving Joint

     Administration of Cases Authorizing Joint Administration Pursuant to 11 U.S.C. § 105(a) and

     Federal Rule of Bankruptcy Procedure 1015(b). Docket No. 25.

            9.      On September 20, 2017, the Office of the United States Trustee filed its Notice of

     Appointment of Official Committee of Equity Holders (the "Notice of Appointment"). Docket

     No. 59. The Notice of Appointment provides for the appointment of the Equity Committee in

     ICPW Nevada.




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            10.     On September 22, 2017, the Office of the United States Trustee filed its Notice of

     Appointment of Creditors' Committee. Docket No. 62.

     B.     Background Relevant to Application.

            11.     Prior to the Petition Date, in April and May, 2017, the Debtors' Board of Directors

     received anonymous reports of accounting irregularities at ICPW, resulting in certain revenue

     figures being inflated in ICPW's financial statements.

            12.     After an investigation confirmed the irregularities, on June 29, 2017, the Audit

     Committee of the Debtors' Board of Directors (the "Audit Committee") concluded that disclosure

     should be made and action taken to prevent further reliance on the Debtors' financial statements

     as of and for the fiscal years ended December 31, 2016 and 2015, and as of and for the fiscal

     quarters ended March 31, 2017 and March 31, June 30 and September 30, 2016. See 8-K filed

     with Securities and Exchange Commission, on June 29, 2017 (the "8-K Report").

            13.     The 8-K Report provides that during the second quarter of fiscal year 2017, the

     Debtors received anonymous reports regarding potential accounting irregularities relating to

     certain sale transactions (the "Subject Transactions"). According to Court filings, the Debtors

     have subsequently determined that the Subject Transactions affect the periods as of and for the

     fiscal years ended December 31, 2016 and 2015, and as of and for the fiscal quarters ended March

     31 and June 30, 2016 (collectively, the "Subject Periods"), and that the corresponding roll-over

     effect of these misstatements resulting from the Subject Transactions in the Subject Periods also

     affect the Debtors' financial statements as of and for the fiscal quarters ended September 30, 2016

     and March 31, 2017. See 8-K Report.

            14.     The 8-K Report further provides that over the course of approximately six weeks,

     a consultant retained by the Debtors identified previously undisclosed information pertaining to

     certain recorded sales that preliminarily indicate that the Subject Transactions should not have

     been recorded in the Subject Periods. Based upon the review conducted by the consultant and the

     Audit Committee, which are not yet complete or definitive, according to Court filings, the

     Debtors believe the items in question improperly (increased) reduced, for the quarter ended

     March 31, 2017 and the years ended December 31, 2016 and 2015, revenues by approximately



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     $292,000 (or approximately 6.6%), ($844,000) (or approximately -3.4%) and ($1,390,000) (or

     approximately -5.9%), gross profit by approximately $86,000 (or approximately 5.5%),

     ($322,000) (or approximately -3.6%) and ($402,000) (or approximately -4.9%), and operating

     loss and net loss by approximately ($86,000), $6,000 and $402,000, respectively. See 8-K Report.

            15.     Therefore, on June 29, 2017, the Audit Committee concluded that the Debtors'

     financial statements as of and for the fiscal years ended December 31, 2016 and 2015, and as of

     and for the fiscal quarters ended March 31, 2017 and March 31, June 30 and September 30, 2016

     should no longer be relied upon due to the misstatements resulting from the Subject Transactions

     in the Subject Periods and the corresponding roll-over effect of these misstatements outside the

     Subject Periods. See 8-K Report.

            16.     On July 4, 2017, Former Officers (Jeffrey Cordes, as CEO, and William Eisenberg

     as CFO) and Tom Felton, the former Senior Vice President of Supply Chain, resigned from their

     respective positions.

     C.     The Former Officers' Claims.

            17.     On September 7, 2017, Former Officers submitted an arbitration demand to JAMS

     in connection with alleged breaches of certain employment agreements and related documents,

     which initiated a proceeding before the American Arbitration Association ("AAA").

            18.     The Former Officers filed proofs of claims against the Debtors on October 3, 2017,

     which are denominated in the Bankruptcy Court's files as Claims No. 7 and 8 (collectively, the

     "Proofs of Claim");

            19.     The Former Officers filed the Motion Of Jeffrey Cordes And William M Aisenberg

     For Relief From The Automatic Stay Under 11 U.S.C. al 362(Action In Nonbankruptcy Forum)

     (the "Relief From Stay Motion"), as Docket No. 132, and the Debtors' filed the opposition (the

     "Opposition") thereto, as Docket No. 169, and the Equity Committee filed a joinder therein, as

     Docket No. 168.

            20.     At a hearing on October 15, 2017, the Court temporarily denied the Relief From

     Stay Motion and set related deadlines, including for the Debtors' estates and/or the Equity




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     Committee to file an adversary proceeding and claim objections against the Former Officers. The

     Court entered the related order on December 7, 2017, as Docket No. 302.

     D.     The Debtors' Motion to Assign Claims Against the Former Officers to the Equity

     Committee.

            21.     The Debtors have or may have claims, objections and causes of action against the

     Former Officers (collectively, the "Claims"), and counter claims and defenses against any of the

     claims asserted by the Former Officers (the "Defenses"), including those claims asserted in the

     Proofs of Claim. The Claims are currently being investigated and evaluated, and involve, among

     other things, the Former Officers' failure to provide materially complete financial information.

            22.     The Debtors and the Equity Committee agreed, subject to Court approval, that the

     Debtors would grant the Equity Committee standing to assert, prosecute, and/or settle any and all

     of the Debtors' Claims and Defenses on behalf of the Debtors' estates against the Former Officers

     in the AAA Proceeding, the Bankruptcy Court, and/or any other forum.

            23.     Consequently, on November 21, 2017, the Debtors filed the Joint Motion For

     Order Granting Standing To Pursue Claims For The Benefit Of The Debtors' Estates,. And

     Approving Stipulation Between Debtors And Equity Committee Granting Standing (the
     "Assignment Motion"). Docket No. 243. The Court granted the Assignment Motion at a hearing

     on December 12, 2017.

     E.     The Debtors and the Equity Committee's Joint Plan of Liquidation.

            24.     On December 12, 2017, the Debtors and the Equity Committee filed the Notice Of

     Filing Of Initial Draft Of Debtors And Official Committee Of Equity Security Holders Joint Plan

     Of Liquidation Dated December , 2017 (the "Joint Plan"). Docket No. 334. The Joint Plan and
     Trust Agreement contain various provisions that create a trust (the "Trust") for the benefit of

     shareholders. The Debtors' claims and causes of action will be assigned to the Trust and will be

     pursued by a trustee, with the oversight of a trust board, post-confirmation of the Plan.




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                                                    IV.

                     SOLOMON & CRAMER'S PROPOSED EMPLOYMENT

            25.    Subject to the direction of the Equity Committee and further order of this Court,

     the professional services to be rendered by Solomon & Cramer include:

            (a)    assisting and advising the Equity Committee in the investigation of any claims and

                   causes of actions against the Former Officers and Third Parties based on certain

                   prepetition acts and matters related thereto;

            (b)    assisting and advising the Equity Committee in the prosecution of any claims and

                   causes of actions against the Former Officers and Third Parties based on certain

                   prepetition acts and matters related thereto;

            (c)    participating in such examinations and depositions of the Former Officers, Third

                   Parties and other witnesses as may be necessary and handling all matters related

                   thereto;

            (d)     representing the Equity Committee at hearings to be held before this Court and/or

                   in any other forum and communicating with the Equity Committee regarding the

                   matters heard and the issues raised as well as the decisions and considerations of

                   this Court and any other court or arbitrator;

            (e)    preparing and filing any complaint and/or objection against the Former Officers

                   and the Third Parties and handling any matters related thereto;

            (f)    performing such other services as the Equity Committee may require of Solomon

                   & Cramer in connection with the Former Officers and the Third Parties; and

            (g)    Continuing to pursue any claims and causes of actions after the effective date of

                   any plan.



                                                     V.

                               SELECTION OF SOLOMON & CRAMER

            26.    The Equity Committee selected Solomon & Cramer based on several factors,

     including the broad array of commercial litigation services it offers as a boutique business



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     litigation law firm, and in particular its expertise in litigation involving legal and accounting

     malpractice, claims against officers, and complaints and matters before the Securities Exchange

     Commission. A copy of Solomon & Cramer's firm resume is attached to the concurrently filed

     Declaration of Andrew T. Solomon (the "Solomon Declaration") as Exhibit "A."

            27.     Solomon & Cramer is a law firm comprising four (4) attorneys, plus various

     contract attorneys, with an office located in New York, New York and an attorney located in

     Chicago, Illinois and Dallas, Texas. Solomon & Cramer has expertise in virtually all areas of law

     related to the potential claims against the Debtors' Officers and Third Parties that the Equity

     Committee may draw upon from time to time as the need arises.

            28.     All attorneys composing or associated with Solomon & Cramer who will be

     performing legal services for the Equity Committee in this case will be acting under the

     supervision of an attorney at Dentons duly admitted to practice law in the courts of the State of

     California. All attorneys who are expected to appear before this Court are admitted to practice

     law in the United States District Court for the Central District of California or have applied or

     will apply for such admission pro hac vice. All attorneys who are expected to appear before this

     Court are familiar with the Bankruptcy Code, Bankruptcy Local Rules and the United States

     Trustee Guidelines and will comply with them. A summary of the experience and qualifications

     of those Solomon & Cramer lawyers who are expected to be the primary Solomon & Cramer

     lawyers rendering services to the Equity Committee is attached to the Solomon Declaration as

     Exhibit "B."

                                    VI.
        DISCLOSURES REGARDING SOLOMON & CRAMER'S COMPENSATION AND
                            DISINTERESTEDNESS


            29.     For this representation, Solomon & Cramer has agreed to reduced hourly rates.

     Solomon & Cramer proposes to render services to the Equity Committee at a combination of rates

     discounted twenty-five (25%) percent of standard rates, and a contingency-fee arrangement of ten

     (10%) percent of the shareholders' net recoveries if the gross recoveries are less than

     $5,000,000.00 and fifteen (15%) percent of the shareholders' net recoveries if the gross



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     recoveries are equal to or greater than $5,000,000.004 (for the avoidance of doubt, under the

     foregoing scenario, the fifteen (15%) percent contingency-fee will only apply to the recoveries

     equal to or greater than the $5,000,000.00). Solomon & Cramer will seek reimbursement for any

     travel fees or expenses, including experts, without any markup. The current hourly billing rates

     for the Solomon & Cramer attorneys and paraprofessionals who will provide services on this

     matter are:.
                     a.      Andrew T. Solomon (partner): discounted hourly billing rate of $337.50;
                     b.      Jennifer Cramer (partner): discounted hourly billing rate of $225.00;
                     c.      Rebecca Zawisky (of counsel): discounted hourly billing rate of $187.50;
                             and
                     d.      Various contract attorneys (for discovery only): standard hourly billing
                             rate capped at $125.
             30.     For certain professionals, such rates may be higher or lower than the local rate

     charged in cases billed out of the office in which the professional is resident. Solomon & Cramer

     reserves the right to ask this Court to adjust the hourly rates and rates of reimbursement in the

     future if the rates it charges are increased.

             31.     Solomon & Cramer will maintain detailed records of fees and expenses incurred in

     connection with the rendering of the legal services described above, in accordance with

     applicable rules and guidelines.

             32.     Pursuant to § 328(a), the Equity Committee may retain counsel pursuant to

     "reasonable terms and conditions, including . . . on an hourly basis . . . or on a contingent fee

     basis." 11 U.S.C. § 328(a). The Equity Committee believes that the proposed terms constitute

     fair and reasonable terms and conditions for the retention by the Equity Committee of Solomon &

     Cramer as counsel in accordance with § 328(a). The contingency-fee arrangement is equal to or

     more client-favorable than other similar engagements that Solomon & Cramer has entered into

     with commercial clients. Under the terms of its proposed retention, Solomon & Cramer will

     provide actual and necessary services to the Debtors' estates at reduced fees. Only if and when

     the equity security holders receive a certain level of recoveries from these Cases may Solomon &
     4
       Note: Solomon & Cramer specifically contemplated the existence of the contingency-fee
     arrangement described herein when it agreed to reduce its hourly rates by twenty-five (25%)
     percent of its standard rates. If, for any reason, the Court does not approve the contingency-fee
     arrangement, Solomon & Cramer reserves the right to request compensation equal to its standard
     rates and amend the Application accordingly.


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     Cramer recover an additional amount to make up for its initial discount and out-of-pocket

     expense. The contingency-fee therefore will not affect any other stakeholders in the Debtors'

     Cases and will only be paid post-confirmation after certain shareholder recoveries.

            33.       Solomon & Cramer understands the provisions of §§ 328, 330, 331 and 1103,

     Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1(b) and 2016-1, which require,

     among other things, Court approval of the Equity Committee's employment of Solomon &

     Cramer as counsel and of all legal fees and reimbursement of expenses that Solomon & Cramer

     will receive from the Debtors' estates. Solomon & Cramer understands that the standards related

     to § 328 will not apply to any compensation sought under the Application—except that, pursuant

     to the terms discussed herein, Solomon & Cramer seeks the contingency-fee compensation

     pursuant to § 328(a) (which fees will only be paid after certain recoveries to shareholders).

            34.       Solomon & Cramer has not received and will not receive any lien or any other

     interest in property of the Debtors or of a third party to secure payment of its fees, but reserves

     the right to seek to surcharge collateral if appropriate. Solomon & Cramer understands that its

     compensation in this case will be subject to the approval of the Bankruptcy Court upon

     appropriate application and hearing—except that, pursuant to the terms discussed herein,

     Solomon & Cramer seeks the contingency-fee compensation pursuant to § 328(a). Solomon &

     Cramer intends to apply to this Court for fees incurred prior to the confirmation of the Joint Plan

     in conformity with the Bankruptcy Code and applicable rules, the guidelines for compensation

     and reimbursement for fees incurred and costs advanced in this matter and any orders of the Court

     governing application and allowance of compensation in this Case.

            35.       At the conclusion of this case, Solomon & Cramer will file an appropriate

     application seeking allowance of all fees and costs, regardless of whether interim compensation

     has been paid.

            36.       As set forth in the Solomon Declaration, Solomon & Cramer identified all persons

     and entities who are, or may be, adverse to the Equity Committee and the Debtors, who are

     currently represented by Solomon & Cramer, or where a claimant of these estates, may be an




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     adverse party in litigation where Solomon & Cramer represents the opposing party. A list of the

     parties and entities searched is attached as Exhibit "C" to the Solomon Declaration.

            37.      Except as set forth in the Solomon Declaration, Solomon & Cramer and the

     attorneys composing or employed by it (a) do not have any prior connection with the Debtors, any

     creditors of the Debtors or their estates, any equity security holders, or any other party in interest

     in these cases, or their respective attorneys or accounts (other than professional connections and

     relationships), or these Cases; (b) do not hold or represent an interest materially adverse to the

     estates or of any class of creditors or equity secured holders, by reason of any direct or indirect

     relationship to, connection with, or interest in, the Debtors or an investment banker for any

     security of the Debtors, or for any other reason; and (c) are disinterested persons as that term is

     defined in 11 U.S.C. §101(14). As of the Petition Date, Solomon & Cramer was not a creditor,

     equity holder, or insider of the estate.

             38.     Solomon & Cramer is not and was not an investment banker for any outstanding

     security of the Debtors. Solomon & Cramer has not been within three (3) years before the

     petition date an investment banker for a security of the Debtors, or an attorney for such an

     investment banker in connection with the offer, sale or issuance of any security of the Debtors.

             39.     Neither Solomon & Cramer nor any of its attorneys are, or were, within two (2)

     years before the petition date, a director, officer or employee of the Debtors or of any investment

     banker for any security of the Debtors.

             40.     Solomon & Cramer has not shared or agreed to share such compensation with any

     other person, except as among partners of Solomon & Cramer. Solomon & Cramer has no

     prepetition claims against the Debtors. Solomon & Cramer has not received a retainer.

             41.     Solomon & Cramer understands that any compensation to be received by Solomon

     & Cramer hereafter is subject to the approval of this Court on appropriate application and

     hearing—except that, pursuant to the terms discussed herein, Solomon & Cramer seeks the

     contingency-fee compensation pursuant to § 328(a). Solomon & Cramer intends to file

     applications for allowance of fees and reimbursements of costs as and when appropriate.




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                                42.   To the best of Solomon & Cramer's knowledge, no attorney employed by

              2   Solomon & Cramer is related to any judge of the United States Bankruptcy Court for the Central

              3   District of California, the United States Trustee, or to any person employed by the Office of the

              4   United States Trustee.

              5                 43.   The Equity Committee believes that its employment of Solomon & Cramer upon

              6   the terms and conditions set forth above is in the best interest of the Debtors' estates and equity

              7   holders.

              8                                                   VII.

              9                                             CONCLUSION

  00         10                 WHEREFORE, the Equity Committee respectfully requests the entry of an order:

             11   (i) approving this Application; (ii) approving the Equity Committee's employment of Solomon &
  C/D cp

             12   Cramer as its special litigation counsel, pursuant to 11 U.S.C. *§§ 1103(a) and 328(a), with hourly

             13   compensation pursuant to 11 U.S.C. §§ 330 and 331, and contingency-fee compensation pursuant
0 ;,4
             14   to § 328(a) effective as of November 29, 2017; and (iii) affording such and further relief as is
qww
             15   warranted under the circumstances.
        o
  oa         16   Dated: December 19th, 2017                 DENTONS US LLP
             17                                              SAMUEL R. MAIZEL
                                                             TANIA M. MOYRON
             18
                                                             By: /s/ Tania M Moyron
             19                                              Tania M. Moyron, Counsel to the
                                                                Official Committee of Equity Holders
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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): APPLICATION OF THE OFFICIAL COMMITTEE
OF EQUITY SECURITY HOLDERS TO EMPLOY SOLOMON & CRAMER LLP AS SPECIAL LITIGATION COUNSEL
TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS NUNC PRO TUNC AS OF NOVEMBER 29, 2017;
DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 19, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

      •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
      •   Ron Bender rb@Inbyb.com
      •   Cathrine M Castaldi ccastaldi@brownrudnick.com
      •   Russell Clementson russell.clementson@usdoj.gov
      •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
      •   Matthew A Gold courts@argopartners.net
      •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
      •   Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenberggluskercom;calendar@greenbergglusker.com;jking@greenberggluskercom
      •   Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
            dentons.com
      •   Krikor J Meshefejian kjm@Inbrb.com
      •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
      •   S Margaux Ross margaux.ross@usdoj.gov
      •   Susan K Seflin sseflin@brutzkusgubner.com
      •   John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
      •   United States Trustee (SV) ustpregionl6.wh.ecf@usdoj.gov
      •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
      •   Susan K. Seflin sseflin@bg.law.com

                                                                                           ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 19, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                           Ei   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 19, 2017, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
105437348\V-1
            Case 1:17-bk-12408-MB                       Doc 354 Filed 12/19/17 Entered 12/19/17 15:20:27                                       Desc
                                                        Main Document     Page 14 of 15




BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                            IZ Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 19, 2017 Christina O'Meara                                                                  /s/Christina O'Meara
 Date                                 Printed Name                                                    Signature




                  This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                                 F 9013-3.1.PROOF.SERVICE
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          Case 1:17-bk-12408-MB                       Doc 354 Filed 12/19/17 Entered 12/19/17 15:20:27                                      Desc
                                                      Main Document     Page 15 of 15



SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                           Holdings                                            Commission
Attn: Mike Tutor, CEO                                   E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                                   Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                       & Berkowitz, PC                                     Los Angeles, CA 90071-9591
                                                        165 Madison Ave, Suite 2000
                                                        Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                                Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                           Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                             P.O. Box 2952                                       P.O. Box 942879
                                                        Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                            Office of Unemployment
Bankruptcy Group MIC 92E                                Compensation Tax Services
P.O. Box 826880                                         Department of Labor and Industry
Sacramento, CA 94280-0001                               Commonwealth of Pennsylvania
                                                        651 Boas Street, Room 702
                                                        Harrisburg, PA 17121

Equity Holders - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                              Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                                Email: rIchez@rcn.com                               Email: scott.jarus@verizon.net




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